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    UNITED STATES DISTRICT COURT
    NORTHERN DISTRICT OF NEW YORK


    TAHEEN HAYES,

                                   Plaintiff,
                                                                          No. 9:16-CV-1368
                                                                          (TJM/CFH)
                    v.

    T. DAHKLE, et al.,

                                   Defendants.


    APPEARANCES:                                          OF COUNSEL:

    Taheen Hayes
    05-A-3850
    Elmira Correctional Facility
    P.O. Box 500
    Elmira, New York 14902
    Plaintiff pro se

    Attorney General for the                              HELENA O. PEDERSON, ESQ.
       State of New York                                  Assistant Attorney General
    The Capitol
    Albany, New York 12224
    Attorney for Defendants

    CHRISTIAN F. HUMMEL
    U.S. MAGISTRATE JUDGE

                            REPORT-RECOMMENDATION AND ORDER1

            Plaintiff pro se Taheen Hayes (“plaintiff”), an inmate who was, at all relevant times,

    in the custody of the New York Department of Corrections and Community Supervision

    (“DOCCS”), brings this action pursuant to 42 U.S.C. § 1983, alleging that defendants,



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         This matter was referred to the undersigned for Report-Recommendation and Order pursuant to
28 U.S.C. § 636(b) and N.D.N.Y.L.R. 72.3(c).
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Superintendent (“Supt.”) Daniel F. Martuscello, Deputy Superintendent of Security (“DSS”)

Raymond Shanley, Corrections Officer (“C.O.”) T. Dahkle, C.O. Jason A. Meier, C.O.

Gregory E. Langtry, C.O. Stephen A. Bence, C.O. E. Coon, C.O. K. Hoffman, and Officer

Rehabilitation Counselor (“O.R.C.”) James Iarusso – who, at all relevant times, were

employed at Coxsackie Correctional Facility (“Coxsackie”) – violated his constitutional

rights under the First and Eighth Amendments. Dkt. No. 12 (“Am. Compl.”). Presently

pending before the Court is defendants’ Motion for Partial Summary Judgment pursuant

to Rule 56 of the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”). Dkt. No. 58. Plaintiff

opposed defendants’ motion, and defendants filed a reply. Dkt. Nos. 67, 69. For the

following reasons, it is recommended that defendants’ motion be granted on the basis of

plaintiff’s failure to exhaust his claims, excluding his Eighth Amendment sexual assault

claim. As to plaintiff’s sexual assault claim, it is recommended that such claim be

dismissed on the merits. Alternatively, if the District Judge should not agree with the

undersigned’s recommendation as to plaintiff’s failure to exhaust, it is recommended that

defendants’ motion be granted in part and denied in part.



                                      I. Background

                         A. Plaintiff’s Recitation of the Facts

       The facts are related herein in the light most favorable to plaintiff as the nonmoving

party. See subsection II infra. On or about April 15, 2016, C.O. Dahkle subjected plaintiff

to sexual abuse and retaliated against him in response to plaintiff’s February 2016

grievance against him. Am. Compl. ¶ 1. While conducting the frisk, C.O. Dahkle “had his


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     lower body (genitals) pressed up against [plaintiff’s] butt” and tightly pressed his hands

     down plaintiff’s back and “into the crack of his butt (inside) all the way down and around

     [his] [groin].” Id. ¶ 4. During the subsequent search of plaintiff’s cell, C.O. Dahkle asked,

     “[d]o you consider yourself a male or female?” and “[d]o you suck dick or fuck men?” Id.

     ¶ 6. On April 16, 2016, plaintiff reported the incident to the Prison Rape Elimination Act

     (“PREA”) hotline. Id. ¶ 7. The next day, plaintiff again reported the incident to the PREA

     hotline and filed a grievance with Coxsackie. Id. ¶¶ 8-9. On April 18, 2016, plaintiff

     reported the sexual assault to Supt. Martuscello during the Superintendent’s “rounds” in

     the cafeteria. Id. ¶ 10. Supt. Martuscello informed plaintiff that someone would contact

     him about the incident. Id. ¶ 11. Later that day, plaintiff was interviewed by the Office of

     Mental Health and Coxsackie Medical staff. Id. ¶ 12.

             On May 15, 2016, C.O. Hoffman “falsified a misbehavior report which subjected

     [plaintiff] to confinement for retaliation . . . because [plaintiff] filed a sexual assault

     complaint against T. Dahkle and was rumored by Coxsackie Correctional Officers to be

     working with the Office of Special Investigation.” Am. Compl. ¶¶ 19, 20. The following day,

     plaintiff was placed in keeplock2 pending a disciplinary hearing for C.O. Hoffman’s

     misbehavior report. Id. ¶ 20.

             On May 16, 2016, plaintiff met with C.O. Meier and non-party C.O. Rowe. Am.

     Compl. ¶ 21. When asked why he was keeplocked, plaintiff explained C.O. Hoffman’s

     alleged retaliatory misbehavior report. Id. C.O. Meier called plaintiff a “fucking liar” and


        2
          “Keeplock is a form of disciplinary confinement segregating an inmate from other inmates and
depriving him of participation in normal prison activities.” Green v. Bauvi, 46 F.3d 189, 192 (2d Cir. 1995);
N.Y. COMP. CODES R. & REGS. tit. 7, § 301.6.

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    stated that he heard plaintiff telling other inmates to call the PREA hotline and falsely report

    incidents of sexual abuse. Id. Plaintiff assured C.O. Meier that he was mistaken, and C.O.

    Meier became “very upset” and agitated and ordered plaintiff back to his cell. Id. ¶¶ 21,

    22. Later that day, plaintiff attended his keeplock admission interview with a non-party

    nurse while in the presence of C.O. Meier and C.O. Rowe. Id. ¶ 23. The nurse asked

    plaintiff if he had been sexually abused while in Coxsackie. Id. ¶ 24. When plaintiff

    answered affirmatively, C.O. Meier “went crazy,” yelling, “faggots like you get C.O.’s [sic]

    fucking fired. You want to play these fucking games?” Id. C.O. Meier pointed his fingers

    directly in plaintiff’s face and threatened to “fuck [plaintiff] up right now.” Id. ¶¶ 26, 27.

             On May 17, 2016, plaintiff was transferred to the Special Housing Unit (“SHU”).3

    Am. Compl. ¶ 30. On May 23, 2016, plaintiff again expressed his fear and frustrations

    about his safety to Supt. Martuscello and DSS Shanley, showing them the allegedly false

    May 15, 2016 misbehavior report from C.O. Hoffman and explaining C.O. Meier’s threats.

    Id. ¶ 32. Supt. Martuscello and DSS Shanley told plaintiff to resolve his problems at an

    upcoming disciplinary hearing. Id.

             On May 26, 2016, plaintiff filed a grievance for the “constant retaliatory practices by

    way of disciplinary action and harrasment [sic] from C.O. Hoffman, threats from C.O. Meier

    for filing grievances and a sexual complaint on Dahkle.” Am. Compl. ¶ 36. In this

    grievance, plaintiff also “raise[d] the issue of the failure to protect” and how he feared for


        3
         SHUs exist in all maximum and certain medium security facilities. The units “consist of single-
occupancy cells grouped so as to provide separation from the general population . . . .” N.Y. COMP.
CODES R. & REGS. tit 7, § 300.2(b). Inmates are confined in a SHU as discipline, pending resolution of
misconduct charges, for administrative or security reasons, or in other circumstances as required. Id. at
pt. 301.

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his life. Id. Plaintiff sent a copy of this grievance to Supt. Martuscello. Id. On June 10,

2016, plaintiff was released from SHU. Id. ¶ 37. When plaintiff asked his O.R.C.

Counselor why a disciplinary hearing for C.O. Hoffman’s misbehavior report had never

been conducted, the Counselor told him that the misbehavior report did not exist. Id.

       On June 11, 2016, Supt. Martuscello and DSS Shanley ordered plaintiff to the

Captain’s office. Am. Compl. ¶ 39. Supt. Martuscello yelled at plaintiff for filing complaints

about the alleged sexual assault and other harassment to outside New York State

agencies. Id. DSS Shanley warned plaintiff that because he was the Deputy Director of

Security, if plaintiff initiated any further complaints, “anything [could] happen to [him]” for

“security reasons.” Id. Supt. Martuscello threatened that if plaintiff continued to “make an

issue,” he would place him back in SHU. Id. ¶ 41. Four days later, plaintiff filed a

grievance regarding this meeting. Id. ¶ 42. Plaintiff also filed a complaint with non-party

Anthony J. Annucci, the acting Commissioner of DOCCS, regarding the sexual abuse,

threats, harassment, and retaliatory practices he experienced at Coxsackie. Id.

       On June 20, 2016, plaintiff was transferred to a different housing unit. Am. Compl.

¶ 43. Upon arrival, C.O. Hoffman stated, “[d]on’t get comfortable Hayes, you’ll be out of

here soon.” Id. C.O. Hoffman further stated, “you mess with one of us (C.O.’s) you got to

deal with all of us.” Id. On July 7, 2016, C.O. Hoffman banged on plaintiff’s cell, and told

him that the May 15, 2016 misbehavior report he filed against plaintiff “don’t [sic] exist” and

that “Dahkle said hi.” Id. ¶ 47.

       On July 12, 2016, plaintiff attended a grievance hearing concerning a recent

grievance for SHU mail pickup. Am. Compl. ¶ 48. O.R.C. Iarusso was present at the


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hearing. Id. Plaintiff requested permission to inquire about his grievance against Supt.

Martuscello and DSS Shanley that had not been filed, and O.R.C. Iarusso denied that

request, stating that he did not care about plaintiff’s grievance. Id. ¶¶ 48, 49. He further

informed plaintiff that he had thrown away plaintiff’s grievance and that “as far as [he] was

concerned, any grievances about the Superintendent [he] would never personally file

anyway.” Id.

         On July 30, 2016, C.O. Meier attacked plaintiff from behind and slammed him into

the ground. Am. Compl. ¶ 55. C.O. Meier then sat on plaintiff’s back and repeatedly

punched him in the back, head, and face with closed fists. Id. ¶ 56. C.O. Langtry, C.O.

Bence, and C.O. Coon joined in, kicking and punching plaintiff all over his body as he lay

handcuffed on the floor. Id. ¶ 57.



                              B. Defendants’ Recitation of the Facts

         In support of this motion, defendants filed a Statement of Material Facts.4

  4
      Local Rule 7.1(a)(3) states:

            Summary Judgment Motions

            Any motion for summary judgment shall contain a Statement of Material
            Facts. The Statement of Material Facts shall set forth, in numbered
            paragraphs, each material fact about which the moving party contends
            there exists no genuine issue. Each fact listed shall set forth a specific
            citation to the record where the fact is established. The record for
            purposes of the Statement of Material Facts includes the pleadings,
            depositions, answers to interrogatories, admissions and affidavits.

            The opposing party shall file a response to the Statement of Material
            Facts. The non-movant's response shall mirror the movant's Statement
            of Material Facts by admitting and/or denying each of the movant's
            assertions in matching numbered paragraphs. Each denial shall set forth
            a specific citation to the record where the factual issue arises. The
            non-movant's response may also set forth any additional material facts

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                                      1. April 15, 2016 Pat Frisk

           On April 15, 2016, plaintiff was the subject of a scheduled, routine cell search that

   had been pre-approved by DSS Shanley. Dkt. No. 58-3 ¶ 4. C.O. Dahkle carried out the

   search. Id. Pursuant to DOCCS policy, plaintiff was pat frisked prior to the cell search.

   Id. ¶¶ 5, 6. As part of the pat frisk, C.O. Dahkle patted down plaintiff’s arms, shoulders,

   chest, back, each leg, in between each leg, and along the front of plaintiff’s pants’ zipper.

   Id. ¶ 8. C.O. Dahkle conducted the entire pat frisk outside of plaintiff’s clothing. Id. “The

   standards for inspection of an inmate’s person allow for contact with the genitalia, groin,

   breast, inner thighs, and buttocks.” Id. ¶ 9. C.O. Dahkle conducted the April 15, 2016 pat

   frisk without incident, and no contraband was found. Id. ¶ 10.

           After the pat frisk, C.O. Dahlke ordered plaintiff to stand on the wall and observe his

   cell being searched. Dkt. No. 58-3 ¶ 11. C.O. Dahkle did not find contraband in plaintiff’s

   cell, and plaintiff returned to his cell. Id. Insofar as C.O. Dahkle made contact with

   plaintiff’s genitalia or buttocks during the pat frisk, such contact was minimal and solely as

   a result of conducting the pat frisk. Id. ¶ 12. C.O. Dahkle did not make any sexual or

   derogatory comments toward plaintiff during the pat frisk. Id. ¶ 14. Nevertheless, plaintiff

   reported the pat frisk as an alleged sexual assault in violation of PREA. Id. ¶ 15. An

   investigation following the PREA complaint found no sexual contact or abuse by C.O.

   Dahkle. Id. ¶ 16. During plaintiff’s physical examination by the medical staff, plaintiff did



              that the non-movant contends are in dispute. Any facts set forth in the
              Statement of Material Facts shall be deemed admitted unless specifically
              controverted by the opposing party.

N.D.N.Y. L.R. 7.1(a)(3).

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not complain of injuries from the April 15, 2016 pat frisk, and the medical staff did not

observe any injuries. Id. ¶ 17.



                         2. May 15, 2016 Misbehavior Report

        On May 15, 2016, C.O. Hoffman issued plaintiff a Tier II misbehavior report,

accusing plaintiff of creating a disturbance, refusing a direct order, harassment, lying, and

threats. Dkt. No. 58-3 ¶ 18. Plaintiff served one day in keeplock pending review of the

May 15, 2016 misbehavior report as plaintiff received a Tier III misbehavior report on May

16, 2016, “for which he would have been confined in keeplock pending review.” Id. ¶ 19.

Plaintiff served thirty days in keeplock and sustained a loss of certain privileges in relation

to the May 16, 2016 misbehavior report. Id. Plaintiff received a Tier III misbehavior report

on May 17, 2016, which resulted in ninety days in SHU and a loss of certain privileges. Id.

¶ 20.

        Pursuant to the May 15, 2016 misbehavior report, C.O. Hoffman overheard plaintiff

telling another inmate about calling the PREA hotline to make “bogus complaints in order

to cause trouble for staff.” Dkt. No. 58-3 ¶ 21. C.O. Hoffman gave plaintiff a direct order

to stop yelling, and plaintiff stated that he had not been yelling. Id. C.O. Hoffman informed

plaintiff that he had overheard his conversation, and gave plaintiff a second direct order to

stop yelling. Id. The misbehavior report then states that plaintiff cursed at C.O. Hoffman,

and threatened to file a complaint or lawsuit against him. Id. At the time he authored the

May 15, 2015 misbehavior report, C.O. Hoffman was unaware of plaintiff’s PREA complaint

against C.O. Dahkle. Id. ¶ 25. Although the alleged misconduct was later corroborated


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during a subsequent investigation, the May 15, 2016 misbehavior report was later

expunged for unknown reasons. Id. ¶¶ 27, 28-29.



                   3. Plaintiff’s Verbal Complaints about C.O. Meier

       “To the extent that [Supt.] Martuscello and [DSS] Shanley ever advised plaintiff to

handle any issue through the disciplinary process, it would have been to handle his

misbehavior reports through the disciplinary process.” Dkt. No. 58-3 ¶ 30. Pursuant to

DOCCS policy, “an inmate’s verbal complaints of threats by a Correction Officer are

delegated to a Sergeant for investigation.” Id. ¶ 32. If an inmate’s complaint was found

to be credible, then the investigation would be referred to the Office of Special

Investigations (“OSI”). Id. As such, Supt. Martuscello and DSS Shanley had no personal

involvement in investigating plaintiff’s complaints. Id. ¶ 33. Although neither Supt.

Martuscello nor DSS Shanley recall speaking with plaintiff regarding any alleged threats

by C.O. Meier in May 2016, “there is no reason to believe that the process for verbal

complaints did not occur.” Id. ¶ 34. Moreover, Supt. Martuscello and DSS Shanley do not

have the authority to transfer plaintiff to another facility. Id. ¶¶ 41, 42. Supt. Martuscello

and DSS Shanley also were not responsible for C.O. assignments, and, thus, could not

assign C.O. Meier to a different housing block. Id. ¶ 43. The Use of Force report

concerning C.O. Meier’s alleged use indicates that “only necessary and appropriate force

was used to regain control of the situation, and that such force was unrelated to any

alleged threats made by [C.O.] Meier.” Id. ¶ 45.




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            4. June 2016 Meeting with Supt. Martuscello and DSS Shanley

              An inmate who has been penalized with time in SHU may have
              any portion of that time deferred up to 180 days. The Hearing
              Officer who handles the disciplinary hearing makes the
              decision to defer time. If the inmate has no disciplinary
              infractions during the deferral period, the penalty is expunged.
              However, if the inmate has a subsequent disciplinary infraction
              during the deferral period, the deferred time may be invoked
              following a hearing on the subsequent disciplinary infraction.
              The Hearing Officer, at his or her discretion, makes the
              decision to invoke deferred time following the hearing on the
              subsequent disciplinary infraction.

Dkt. No. 58-3 ¶ 46 (internal citations omitted). Supt. Martuscello does not recall meeting

with plaintiff on June 11, 2015. Id. ¶ 48. He did not threaten plaintiff with deferred SHU

time, and, as Superintendent, does not make the decision as to whether to invoke an

inmate’s deferred SHU time. Id. ¶¶ 47, 49. If Supt. Martuscello did discuss deferred SHU

time with plaintiff, “it would have been to remind Plaintiff of the rules for deferred SHU time:

that if Plaintiff received a misbehavior report for a disciplinary infraction while he had

deferred SHU time, the Hearing Officer could decide to invoke that deferred SHU time.”

Id. ¶ 51.



                           5. July 12, 2016 Grievance Hearing

       On July 12, 2016, plaintiff attended a “grievance hearing” on his complaint regarding

mail in SHU. Dkt. No. 58-3 ¶ 53. On that date, O.R.C. Iarusso worked as a staff

representative for the Coxsackie Inmate Grievance Program (“IGP”). Id. ¶ 54. Prior to his

July 12, 2016 grievance hearing, plaintiff had attempted, on multiple occasions, to discuss

other grievances, including a grievance against Supt. Martuscello, after O.R.C. Iarusso told


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him he would look into these grievances at a later date. Id. ¶ 56. O.R.C. Iarusso informed

plaintiff that the purpose of the July 12, 2016 hearing was to discuss plaintiff’s grievance

regarding SHU mail. Id. ¶ 56. “As part of a broader exchange, after Plaintiff’s persistent

questions and demands about other grievances, Defendant Iarusso told Plaintiff that he,

personally, would not file a grievance against the Superintendent.” Id. ¶ 58. As a IGP Staff

Representative, O.R.C. Iarusso is not responsible for filing inmate grievances. Id. ¶ 55.

O.R.C. Iarusso did not tell plaintiff that he would not file plaintiff’s grievance against Supt.

Martuscello and DSS Shanley, and had no intention of deterring plaintiff from filing

grievances against Coxsackie staff. Id. ¶¶ 59, 62. Further, O.R.C. Iarusso did not threaten

to discard plaintiff’s grievance against Supt. Martuscello and DSS Shanley, nor did he

discard such grievance.      Id. ¶¶ 63, 64.     In fact, plaintiff’s grievance against Supt.

Martuscello and DSS Shanley was filed and consolidated with plaintiff’s grievance

concerning an alleged loss of programs. Id. ¶ 65.



                              6. July 30, 2016 Use of Force

       On July 30, 2016, C.O. Coon and C.O. Bence “responded to a Watch Commander

Response” that stated that plaintiff had attempted to assault C.O. Meier. Dkt. No. 58-3 ¶¶

67, 68. C.O. Meier first used his body weight to restrict plaintiff’s movement until at least

one of plaintiff’s arms could be secured, as plaintiff resisted C.O. Meier’s attempts to regain

control of the situation. Id. ¶ 69. C.O. Langtry then secured plaintiff’s right arm behind his

back. Id. ¶ 70. When C.O. Bence arrived, he assisted C.O. Meier and C.O. Langtry by

securing plaintiff’s left arm behind his back until mechanical restraints could be applied.


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    Id. ¶ 71. When C.O. Coon arrived, he observed plaintiff laying on the floor with his hands

    secured behind his back by the other corrections officers. Id. ¶ 72. After the corrections

    officers secured plaintiff’s arms behind his back, C.O. Coon applied mechanical restraints

    to plaintiff’s wrists. Id. ¶ 73. An unnamed corrections officer then escorted plaintiff to the

    medical department. Id. ¶ 74.

            C.O. Coon and C.O. Bence authored memorandum documenting their actions on

    July 30, 2016 using normal and ordinary DOCCS procedure following a Use of Force

    incident. Dkt. No. 58-3 ¶ 76. C.O. Bence used minimal force to secure plaintiff’s left arm

    behind his back in an attempt to regain control of the situation after plaintiff’s alleged

    attempted assault on staff and resistance. Id. ¶ 77. C.O. Coon’s only role in the July 30,

    2016 Use of Force incident was to apply mechanical restraints to plaintiff’s wrists. Id. ¶ 79.

    Plaintiff’s medical records indicate that, following the July 30, 2016 Use of Force incident,

    he sustained a cut above his eye that required stitches.



                                              III. Discussion5

                                            A. Legal Standard

            “A court shall grant summary judgment if the movant shows that there is no genuine

    dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

    FED. R. CIV. P. 56(a). The moving party has the burden of showing the absence of

    disputed material facts by providing the Court with portions of “pleadings, depositions,



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         All unpublished opinions cited in this Report-Recommendation and Order, unless otherwise
noted, have been provided to plaintiff.

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answers to interrogatories, and admissions on file, together with the affidavits, if any,”

which support the motion. FED. R. CIV. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986). A fact is material if it may affect the outcome of the case as determined by

substantive law, such that “a reasonable jury could return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “In determining whether

summary judgment is appropriate, [the Court will] resolve all ambiguities and draw all

reasonable inferences against the moving party.” Skubel v. Fuoroli, 113 F.3d 330, 334 (2d

Cir. 1997).

       To avoid summary judgment, a non-moving party “must do more than simply show

that there is some metaphysical doubt as to the material facts.” Carey v. Crescenzi, 923

F.2d 18, 19 (2d Cir. 1991) (quoting Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,

475 U.S. 574, 586 (1986)) (internal quotation marks omitted). A non-moving party must

support such assertions by evidence showing the existence of a genuine issue of material

fact. See id. “When no rational jury could find in favor of the non-moving party because

the evidence to support is so slight, there is no genuine issue of material fact and a grant

of summary judgment is proper.” Gallo v. Prudential Services, Ltd. P’ship, 22 F.3d 1219,

1224 (2d Cir. 1994).

       Where, as here, a party seeks judgment against a pro se litigant, a court must afford

the non-movant special solicitude. See Triestman v. Fed. Bureau of Prisons, 470 F.3d

471, 477 (2d Cir. 2006). As the Second Circuit has stated,

              [t]here are many cases in which we have said that a pro se
              litigant is entitled to “special solicitude,” . . . that a pro se
              litigant’s submissions must be construed “liberally,” . . . and
              that such submissions must be read to raise the strongest

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            arguments that they “suggest,” . . . . At the same time, our
            cases have also indicated that we cannot read into pro se
            submissions claims that are not “consistent” with the pro se
            litigant’s allegations, . . . or arguments that the submissions
            themselves do not “suggest,” . . . that we should not “excuse
            frivolous or vexatious filings by pro se litigants,” . . . and that
            pro se status “does not exempt a party from compliance with
            relevant rules of procedural and substantive law . . . .

Id. (citations and footnote omitted); see also Sealed Plaintiff v. Sealed Defendant, 537 F.3d

185, 191-92 (2d Cir. 2008).



                                        B. Exhaustion

       Defendants contend that plaintiff failed to exhaust his remaining claims except for

his Eighth Amendment sexual assault claim. Def. Mem. of Law at 4 n.2, 6. Plaintiff claims

that administrative remedies were unavailable to him. Dkt. No. 67-1 (“Pl. Opp.”) at 4-6.

The Prison Litigation Reform Act (“PLRA”) requires that a prisoner exhaust any

administrative remedies available to him or her before bringing an action for claims arising

out of his or her incarceration. See Porter v. Nussle, 534 U.S. 516, 524 (2002); see also

Woodford v. Ngo, 548 U.S. 81, 82 (2006). The exhaustion requirement applies “to all

inmate suits about prison life, whether they involve general circumstances or particular

episodes, and whether they allege excessive force or some other wrong.” Porter, 534 U.S.

at 532. Further, the exhaustion requirement applies even where the prisoner seeks relief

not available in the administrative grievance process, such as monetary damages. Id. at

524. To exhaust administrative remedies, the inmate must complete the full administrative

review process set forth in the rules applicable to the correctional facility in which he or she



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    is incarcerated. See Jones v. Bock, 549 U.S. 199, 218 (2007) (internal citation omitted).

            Although the Supreme Court has deemed exhaustion mandatory, the Second Circuit

    has recognized that “certain caveats apply.” Ruggiero v. Cty. of Orange, 467 F.3d 170,

    175 (2d Cir. 2006) (citation omitted). The Supreme Court recently held that “[c]ourts may

    not engraft an unwritten ‘special circumstances’ exception onto the PLRA's exhaustion

    requirement.” Ross v. Blake, __ U.S. __,136 S. Ct. 1850, 1862 (2016). Thus, the “special

    circumstances” exception in Hemphill v. New York, 680 F.3d 680, 686 (2d Cir. 2004) is no

    longer consistent with the statutory requirements of the PLRA. Williams v. Priatno, 829

    F.3d 118, 123 (2d Cir. 2016). 6

            Although Ross eliminates the “special circumstances” exception, courts must still

    consider the PLRA’s “textual exception to mandatory exhaustion.” Ross, 136 S. Ct. at

    1858. Under this exception, courts must determine whether administrative remedies were

    “available” to a prisoner. Id. The Supreme Court identified three circumstances where

    administrative remedies may be unavailable to a prisoner. First, “an administrative

    procedure is unavailable when (despite what regulations or guidance materials may

    promise) it operates as a simple dead end — with officers unable or consistently unwilling

    to provide any relief to aggrieved inmates.” Id. at 1859 (citing Booth v. Churner, 532 U.S.

    731, 736, 738 (2001)). “Next, an administrative scheme might be so opaque that it

    becomes, practically speaking, incapable of use.” Id. Lastly, administrative remedies are

    unavailable where “prison administrators thwart inmates from taking advantage of a

        6
         In Williams v. Priatno, the Second Circuit debated Ross’s effect on Hemphill’s estoppel
exception. See Williams, 829 F.3d at 123. The Williams Court stated that “Ross largely supplants our
Hemphill inquiry by framing the exception issue entirely within the context of whether administrative
remedies were actually available to the aggrieved inmate.” Id. (citing Ross, 136 S. Ct. at 1858-59).

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     grievance process through machination, misrepresentation, or intimidation.” Id. at 1860.



                       1. Did Plaintiff Exhaust his Administrative Remedies?7

             Defendants do not dispute that plaintiff filed grievances pertaining to a majority of

     his claims in the underlying action. However, defendants argue that plaintiff “knowingly

     filed the complaint before he received notice of CORC’s determinations” regarding his

     grievances. Def. Mem. of Law at 9 (emphasis omitted). On June 17, 2016, plaintiff filed

     a filed grievance (CX-18983-16) alleging that C.O. Hoffman falsified a misbehavior report

     in retaliation for plaintiff reporting an alleged sexual assault by C.O. Dahkle. Dkt. No. 58-2

     ¶ 93. CORC rendered their determination on grievance CX-18983-16 on February 22,

     2017, and mailed the disposition to plaintiff on March 3, 2017. Id. ¶ 94. On July 25, 2016,

     plaintiff filed a grievance (CX-19053-16) alleging that O.R.C. Iarusso informed plaintiff that

     he would not file plaintiff’s grievances complaining about Supt. Martuscello. Id. ¶ 95.

     Plaintiff did not claim that O.R.C. Iarusso’s alleged actions were retaliatory. Id. CORC

     rendered their determination on grievance CX-19053-16 on April 12, 2017, and mailed the



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            First, the inmate must file a complaint with an inmate grievance program (“IGP”) clerk within
twenty-one days of the alleged incident. N.Y. COMP. CODES R. & REGS. tit. 7, § 701.5(a)(1). An IGP
representative has sixteen calendar days to informally resolve the issue. Id. § 701.5(b)(1). If no informal
resolution occurs, the IGRC must hold a hearing within sixteen days of receipt of the grievance and must
issue a written decision within two working days after the conclusion of the hearing. Id. §§
701.5(b)(2)(i)-(ii). If the determination is unfavorable to the inmate, the inmate may appeal the IGRC's
determination to the facility superintendent within seven calendar days of receipt of the determination. Id.
§ 701.5(c)(1). If the superintendent's determination is unfavorable, the inmate may appeal to CORC
within seven days after receipt of the superintendent's determination. Id. §§ 701.5(d)(i)-(ii). CORC must
“review each appeal, render a decision on the grievance, and transmit its decision to the facility, with
reasons stated, for the [inmate], the grievance clerk, the superintendent, and any direct parties within thirty
(30) calendar days from the time the appeal was received.” Id. § 701.5(d)(3)(ii). Parties do not dispute
that at all relevant times, DOCCS had in place a three-step inmate grievance program. N.Y. COMP. CODES
R. & REGS. tit. 7, § 701.5.

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disposition to plaintiff on April 22, 2017. Id. ¶ 96.

       On July 25, 2016, plaintiff filed a grievance (CX-19054-16) alleging that he had been

removed from his mess hall job in retaliation for filing a PREA complaint. Dkt. No. 58-3 ¶

97. Plaintiff also alleged that when he attempted to address his removal with Supt.

Martuscello and DSS Shanley, they intimidated him, and Supt. Martuscello threatened to

invoke plaintiff’s “deferred time” in SHU. Id. Plaintiff claimed that Supt. Martuscello and

DSS Shanley intimidated and threatened him after plaintiff brought up previous complaints

and grievances. Id. CORC rendered their determination on grievance CX-19054-16 on

May 3, 2017, and mailed the disposition to plaintiff on June 5, 2017. Id. ¶ 98. On August

9, 2016, plaintiff filed a grievance (CX-19094-16) alleging that C.O. Meier and other

unnamed corrections officers assaulted him on July 30, 2016 in retaliation for reporting an

alleged sexual assault by C.O. Dahkle.          Id. ¶ 99.   Plaintiff also alleged that Supt.

Martuscello failed to take “responsible action to protect [plaintiff’s] safety” prior to the July

30, 2016 incident. Id. Plaintiff did not allege DSS Shanley failed to protect him from the

alleged excessive use of force. Id. ¶ 100. CORC rendered their determination on

grievance CX-19094-16 on May 31, 2017, and mailed the disposition to plaintiff on July 10,

2017. Id. ¶ 102. Plaintiff filed the original complaint in this action on November 17, 2016.

See Dkt. No. 1.

        It is well-settled that “the PLRA requires that an inmate plaintiff must exhaust his

available administrative remedies before commencing a lawsuit in federal court with

respect to prison conditions.” Peoples v. Beldock, 212 F. Supp. 2d 141, 142 (W.D.N.Y.

2002); see McMillian v. Walters, No. 9:16-CV-0277 (MAD/DJS), 2017 WL 8894737, at *2


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(N.D.N.Y. Dec. 18, 2017) (“The defendant bears the burden of proving that the

administrative remedies available to the plaintiff were not exhausted prior to the initiation

of a civil action.”) (citation omitted); White v. Drake, No. 10-CV-1034 (GTS/DRH), 2011 WL

4478988, at *3 (N.D.N.Y. Aug. 11, 2011) (“Included within the IGP's exhaustion

requirement is the prerequisite that the inmate file an appeal with CORC and receive a

response from CORC prior to filing a federal lawsuit.”) (citation omitted). The record is

clear that plaintiff filed this action on November 17, 2016, and, at that time, CORC had yet

to issue decisions on grievances CX-18983-16; CX-19053-16; CX-19054-16; and

CX-19094-16. See Dkt. No. 58-18 at 9-21.          DOCCS IGP Assistant Director Rachael

Seguin declared that, based on her review of DOCCS records, CORC mailed their

determinations on plaintiff’s grievances CX-18983-16; CX-19053-16; CX-19054-16; and

CX to the Coxsackie Inmate Grievance Review Committee (“IGRC”) for transmittal to

plaintiff on March 3, 2017; April 22, 2017; June 5, 2017; and July 10, 2017 – nearly three

and a half months after plaintiff commenced this action. See Dkt. No. 58-18 (“Seguin

Decl.”) ¶¶ 16, 20, 24, 28. Moreover, the undersigned notes that the fact that plaintiff

received the CORC responses after the filing of his original complaint does not cure the

procedural defect. See Gizewski v. New York State Dep't of Corr. & Cmty. Supervision,

No. 9:14-CV-0124(GTS/DJS), 2016 WL 3661434, at *13 (N.D.N.Y. July 5, 2016) (“It is well

established that [r]eceiving a decision from CORC after filing a federal lawsuit does not

satisfy the PLRA’s requirement that administrative remedies be exhausted before filing suit,

and any claim not exhausted prior to commencement of the suit must be dismissed without

prejudice.”) (internal quotation marks and citations omitted). Thus, the record is clear that


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plaintiff did not fully exhaust his administrative remedies prior to filing this lawsuit as

CORC’s decisions were outstanding. See Peoples, 212 F. Supp. 2d at 142; McMillian,

2017 WL 8894737, at *2; W hite, 2011 WL 4478988, at *3.



                       2. Availability of Administrative Remedies

       Plaintiff contends that he should be excused from the exhaustion requirement

because administrative remedies were unavailable to him “due to the three rules of Ross

v. Blake.” Pl. Opp. at 4-5. First, plaintiff maintains that he “appealed every grievance in

this instant matter to the CORC,” and after CORC failed to respond within the thirty-day

time frame, he “didn’t know what else to do.” Id. at 5. Second, plaintiff claims that he was

confused how to grieve his retaliation claims as he had been “directed to write the Office

of Special Investigation,” but never received a reply. Id. at 6. Finally, plaintiff contends that

Supt. Martuscello, DSS Shanley, C.O. Hoffman, O.R.C. Iarusso, and C.O. Meier

“individually and collectively thwarted him from using the grievance process.” Id.

       As to plaintiff’s claim that the grievance process was unavailable due to CORC’s

delay in rendering their decision on his grievances, the undersigned notes that this is a

close question. There is no dispute that plaintiff completed the grievance procedure as to

grievances CX-18983-16, CX-19053-16, CX-19054-16, and CX-19094-16. See Dkt. No.

58-18 at 9-21. Courts within this Circuit are split as to whether a delay by CORC

constitutes unavailability that would excuse a plaintiff’s failure to exhaust his administrative

remedies. Compare Casey v. Brockley, No. 9:13-CV-01271 (DNH/TWD), 2015 WL

8008728, at *6 (N.D.N.Y. Nov. 9, 2015), report-recommendation and order adopted by


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2015 WL 7864161 (N.D.N.Y., Dec. 03, 2015) (“CORC's failure to act within the time frame

set out in the regulations does not constitute a special circumstance justifying the failure

to exhaust.”) and Ford v. Smith, No. 9:12-CV-1109 (TJM/TWD), 2014 WL 652933, at *3

(N.D.N.Y. Feb. 19, 2014) (concluding that CORC’s six month delay in responding to his

appeal did not render the grievance process unavailable) with Rossi v. Fischer, No. 13-CV-

3167 (PKC)(DF), 2015 WL 769551, at *6 (S.D.N.Y. Feb. 24, 2015) (“Because prison

officials failed to respond to plaintiff's grievance within the 30 day time limit set by

regulation, administrative remedies were not available to the plaintiff and dismissal for

failure to exhaust is not appropriate.”) and Peoples v. Fischer, No. 11 Civ. 2694(SAS),

2012 WL 1575302, *6 (S.D.N.Y. 2012) on reconsideration in part, 898 F. Supp. 2d 618

(S.D.N.Y. 2012) (“When a prisoner complies with all of the administrative requirements and

makes a good-faith effort to exhaust, he should not be denied the opportunity to pursue

his grievance in federal court simply because the final administrative decision maker has

neglected to issue a final administrative determination.”).

       In High v. Switz, this Court excused the plaintiff’s failure to exhaust his

administrative remedies

              where the plaintiff had taken all steps he could to fulfill the last
              step of the appeal process; where CORC had neglected to
              respond, not just during the thirty day time limit, but for a
              period of numerous months thereafter; where CORC had
              further neglected to respond when Plaintiff wrote to CORC
              regarding the status of his appeal; and where CORC had only
              ultimately decided the appeal a year later, after the present
              [motion] had been filed.

High v. Switz, No. 9:17-CV-1067 (LEK/DJS), 2018 WL 3736794, at *5 (N.D.N.Y. July 9,

2018), report-recommendation adopted by 2018 WL 3730175 (N.D.N.Y., Aug. 6, 2018).

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Although plaintiff authored letters dated August 11, 2016 and September 10, 2016

requesting to appeal grievances CX-18983-16 and CX-19094-16 directly to CORC due to

the Superintendent’s failure to render a decision within the twenty-five calendar day time

limit, see Seguin Decl. ¶¶ 14, 26; Dkt. No. 58-5 at 16, 44-45, plaintiff has not proffered

evidence that he wrote to the Coxsackie IGRC or CORC regarding the timeliness of

CORC’s response. See 7 N.Y.C.R.R § 701.5(d)(3)(i) (“If a grievant does not receive a copy

of the written notice of receipt [by CORC] within 45 days of filing an appeal, the grievant

should contact the IGP supervisor in writing to confirm that the appeal was filed and

transmitted to CORC.”).

       Unlike the plaintiff in High, there is no indication in the record that plaintiff wrote to

CORC regarding the status of his appeal and CORC further neglected to respond. See

2018 WL 3736794, at *5. Thus, the undersigned concludes that CORC’s delay in

rendering a decision on plaintiff’s grievances did not excuse plaintiff from the exhaustion

requirement.    See Couvertier v. Jackson, No. 9:12-CV-1282 (DNH/DEP), 2014 WL

2781011, at *5 (N.D.N.Y. June 19, 2014) (“An administrative delay in processing or

deciding an inmate's appeal of a grievance, however, does not constitute a special

circumstance justifying excusal of the exhaustion requirement. “) (citing Ford v. Smith, No.

12-CV-1109, 2014 WL 652933, at *3 (N.D.N .Y. Feb. 19, 2014) (“CORC's failure to act

within the time frame set out in the regulations does not constitute special circumstances

justifying the failure to exhaust.”); cf. Henderson v. Annucci, No. 14-CV-445A, 2016 WL

3039687, at *10 (W.D.N.Y. Mar. 14, 2016) (“Since plaintiff has been awaiting a decision

from CORC for more than two years with respect to his grievance relating to the October


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22, 2013 incident, such an administrative remedy is no longer available to him for purposes

of exhaustion under the PLRA.”).

       Next, plaintiff claims that he was confused how to grieve his retaliation claims as he

had been “directed to write the Office of Special Investigation,” but never received a reply.

Pl. Opp. at 6. Plaintiff further states that “through the confusing text and decision [he]

didn’t know what to do or who should he address the retaliation from defendants about his

PREA complaints.” Id. In support of his argument, plaintiff cites to five entries in the

record, including (1) the CORC decision’s for grievances CX-18983-16, CX-19054-16, and

CX-19094-16; (2) an email from non-party IGP Coordinator Chris VanBergen to the Office

of Special Investigations stating that grievance CX-19054-16 appears to be related to

plaintiff’s April 17, 2016 PREA complaint, and forwarding that grievance to that office “for

whatever action is deemed appropriate”; and (3) a memorandum authored by non-party

Lt. E. Pahl, dated September 21, 2016, concerning grievance CX-19094-16 and C.O.’s

Meier’s alleged use of excessive force. See Dkt. No. 58-5 at 731, 761, 767, 775, 788. To

the extent that plaintiff’s argument can be interpreted as suggesting that he was unsure

how to grieve his retaliation claim against O.R.C. Iarusso, this claim must fail. It is clear

that plaintiff knew of the grievance process at Coxsackie, as he appealed the grievances

in this action to CORC; moreover, plaintiff filed at least two grievances alleging retaliation

by Coxsackie staff members in the underlying action. See generally Dkt. No. 58-5. Thus,

plaintiff’s argument suggesting that he was confused as to how to file a retaliation

grievance is misplaced.

       Finally, plaintiff contends that defendants Supt. Martuscello, DSS Shanley, C.O.


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Hoffman, C.O. Meier, and O.R.C. Iarusso thwarted him from using the grievance process.

Pl. Opp. at 6. Plaintiff claims that “every[ ]time [he] use[d] the Coxsackie grievance system

to report misconduct or retaliation from defendants . . . [he] was further retaliated against.”

Dkt. No. 67-3 ¶ 65. “ Administrative remedies are not available if prison officials

‘interfere[ ] with an inmate's pursuit of relief’ by, for example, misinforming an inmate as to

the applicability of the grievance process to the inmate's claims.” Kendall v. Cuomo,

No.1:12-CV-3438 (ALC)(RLE), 2017 WL 4162338, at *3 (S.D.N.Y. Sept. 19, 2017) (citing

Ross, 136 S.Ct. at 1860); see also Veloz v. New York, 339 F. Supp. 2d 505, 515-16

(S.D.N.Y. 2004) (noting that “[w]hen an inmate's reasonable attempts to exhaust

administrative remedies are impeded by a correctional officer” the remedy is unavailable).

The undersigned concludes that there is no evidence in the record that any of the

defendants interfered with plaintiff’s pursuit of the grievance procedure. In fact, the record

clearly establishes that plaintiff was able to access the grievance process as he filed six

grievances while housed at Upstate. See Seguin Decl. at 9.

       As plaintiff’s bare assertions that defendants thwarted his attempts to file grievances

are insufficient to render the grievance process unavailable, defendants have met their

burden of showing that plaintiff has failed to exhaust his administrative remedies as to all

of his remaining claims, with the exception of his Eighth Amendment sexual assault claim.

Accordingly, it is recommended that defendants’ Motion for Partial Summary Judgment be

granted as to these claims.




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                                  C. Eighth Amendment

                                 1. Sexual Assault Claims

       Plaintiff claims that C.O. Dahkle sexually assaulted him during a pat frisk on April

15, 2016. Am. Compl. ¶ 1. Defendants argue that plaintiff’s Eighth Amendment claim

must fail because any contact C.O. Dahkle made with plaintiff’s body was incidental and

a necessary component of the pat frisk. Def. Mem. of Law at 10-13. “Because sexual

abuse of a prisoner by a corrections officer may constitute serious harm inflicted by an

officer with a sufficiently culpable state of mind, allegations of such abuse are cognizable

as Eighth Amendment claims.” Boddie v. Schnieder, 105 F.3d 857, 861 (2d Cir. 1997).

       In Crawford v. Cuomo, the Second Circuit stated that a single incident of sexual

abuse may violate the Eighth Amendment if it is “sufficiently severe or serious.” 796 F.3d

252, 257 (2d Cir. 2015). The Crawford Court explained:

              [t]o show that an incident or series of incidents was serious
              enough to implicate the Constitution, an inmate need not
              allege that there was penetration, physical injury, or direct
              contact with uncovered genitalia. A corrections officer's
              intentional contact with an inmate's genitalia or other intimate
              area, which serves no penological purpose and is undertaken
              with the intent to gratify the officer's sexual desire or humiliate
              the inmate, violates the Eighth Amendment. Similarly, if the
              situation is reversed and the officer intentionally brings his or
              her genitalia into contact with the inmate in order to arouse or
              gratify the officer's sexual desire or humiliate the inmate, a
              violation is self-evident because there can be no penological
              justification for such contact.

Id. Ultimately, in assessing whether an Eighth Amendment violation has occurred, “the

principal inquiry is whether the contact is incidental to legitimate official duties, such as a

justifiable pat frisk or strip search, or by contrast whether it is undertaken to arouse or


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gratify the officer or humiliate the inmate.” Id. at 257-58 (citing Whitley v. Albers, 475 U.S.

312, 320 (1986) (determining that an Eighth Amendment inquiry turns on “whether force

was applied in a good faith effort to maintain or restore discipline or maliciously and

sadistically for the very purpose of causing harm.”)).

       Plaintiff claims that during the pat frisk, C.O. Dahkle “had his lower body (genitals)

pressed-up against [his] butt,” as his hands “press[ed] tightly down [plaintiff’s] back and into

the crack of [his] butt (inside) all the way down and around [his] groan.” Am. Compl. ¶ 4.

However, as defendants indicate, the pat frisk occurred prior to a scheduled, routine search

of plaintiff’s cell, and pat frisks are required before a corrections officer undertakes a cell

search. See Def. Mem. of Law at 11; DOCCS Dir. 4910, Dkt. No. 58-10 at 17 (“Each day,

the living quarters of a number of inmates in each housing unit will be searched by

correctional employees in accordance with a schedule issued by the Deputy

Superintendent of Security or equivalent . . . . Inmates present shall be pat frisked and may

also be scanned with a hand-held metal detector.”). Such pat frisks relate to the safety and

security of the facility by ensuring that inmates do not possess contraband. See Def. Mem.

of Law at 12. Pursuant to Directive 4910, “[c]ontact through the clothing with the genitalia

. . . and buttocks is a necessary component of a thorough pat frisk. However, staff must

avoid any penetration of the anal or genital opening through the clothing during a pat frisk.”

Dkt. 58-10. Although plaintiff contends that C.O. Dahkle “press[ed] tightly down [plaintiff’s]

back and into the crack of [his] butt,” Am. Compl. ¶ 6, and testified that the search “felt

funny” and “more so [a] massage or a caress,” there is no indication that C.O. Dahkle

penetrated plaintiff’s anus, intentionally or otherwise, or in any way squeezed or fondled


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his genitals. See Dkt. No. 58-9 (“Pl. Dep.”) at 58; Def. Mem. of Law at 12. In fact, plaintiff

testified that the search occurred outside of his clothing. See Pl. Dep. at 54. Further, that

C.O. Dahkle conducted a thorough search and “may have made contact with [p]laintiff’s

genitalia and/or buttocks” is insufficient to establish that he conducted the search with an

intent to humiliate plaintiff or arouse himself. See Shaw v. Prindle, 661 F. App'x 16, 19 (2d

Cir. 2016) (summary order) (concluding that the court “cannot infer solely from the

thoroughness of the search” — described as “excessive searching of [the] crotch area and

in between his buttocks and massaging of his rectum and groin area” — that the defendant

“intended to search . . . with intent to arouse or gratify [his] sexual desires or to humiliate

[the plaintiff]”) (alterations and internal quotation marks omitted).

       Moreover, although plaintiff contends that C.O. Dahkle made statements like “[d]o

you consider yourself a male or female?” and “[d]o you suck dick or fuck men?”, Am.

Compl. ¶ 6, these comments, made subsequent to the pat frisk, are insufficient to establish

that C.O. Dahkle initiated the frisk to humiliate plaintiff or otherwise sexually gratify himself.

See Shepherd v. Fischer, No. 08-CV-9297 (RA), 2018 WL 3122053, at *4 (S.D.N.Y. June

26, 2018) (“Comments by a defendant during an interaction thus constitute relevant

evidence.”); Allen v. Graham, No. 9:16-CV-0047 (GTS/ATB), 2017 WL 5957742, at *6

(N.D.N.Y. Dec. 1, 2017) (concluding that the plaintiff’s allegations that the defendant

corrections officer “made a few callous and/or offensive remarks while caressing Plaintiff's

chest and repeatedly groping Plaintiff's genitals and buttocks” does not amount to an

Eighth Amendment violation) (citing Amaker v. Fischer, No. 10-CV-0977A (Sr), 2014 WL

8663246, at *3 (W.D.N.Y. Aug. 27, 2014) (recommending the dismissal of Eighth


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Amendment sexual-assault claim based on a pat-frisk in which defendant “rub [bed]

plaintiff's penis, fondl[ed] and squeez[ed] plaintiff's buttocks and [ran] his index finger

across plaintiff's anus,” while making inappropriate remarks to plaintiff), report-

recommendation adopted by 2015 WL 1822541 (W.D.N.Y. Apr. 22, 2015)).                       The

undersigned also notes that the substance of C.O. Dahkle’s alleged comments, while

inappropriate, are not of the kind courts find sufficient to implicate the Eighth Amendment.

See Allah v. Morrison, No. 14-CV-6735, 2016 WL 4017340, at *3-4 (W.D.N.Y. July 22,

2016) (“[The defendant’s] alleged taunts to [the plaintiff], including the statements, ‘you

know what I want’ and ‘give me what I want and you'll get what you want’, suggest that [the

defendant’s] conduct was designed to humiliate [the plaintiff], gratify herself, or both.”); see

also Crawford, 796 F.3d at 259 (“[The defendant’s] demeaning comments, including the

statements ‘[t]hat doesn't feel like a penis to me,’ [and] ‘I'll run my hands up the crack of

your ass if I want to’ . . . suggest that [the defendant] undertook the search in order to

arouse himself, humiliate [the plaintiff], or both.”).

       Thus, the undersigned finds that C.O. Dahkle’s alleged contact with plaintiff was

incidental to a routine pat frisk, see Crawford, 796 F.3d at 257, and it is recommended that

defendants’ motion on this ground be granted.



                                     2. Excessive Force

       Defendants move for summary judgment on plaintiff’s excessive force claim as it

pertains to C.O. Bence and C.O. Coon. See Def. Mem. of Law at 19-22. Plaintiff contends

that during the July 30, 2016 use of force incident, C.O. Bence and C.O. Coon kicked and


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punched him all over his body as he lay handcuffed on the floor. Am. Compl. ¶ 57. To

state a prima facie claim of excessive force under the Eighth Amendment, a plaintiff must

establish both objective and subjective elements. See Blyden v. Mancusi, 186 F.3d 252,

262 (2d Cir. 1999). The objective element of the excessive force analysis is “responsive

to contemporary standards of decency” and requires a showing “that the injury actually

inflicted is sufficiently serious to warrant Eighth Amendment protection.” Hudson v.

McMillian, 503 U.S. 1, 9 (1992) (internal citations omitted); Blyden, 186 F.3d at 262.

However, “the malicious use of force to cause harm [ ] constitute[s an] Eighth Amendment

violation per se[,]” regardless of the seriousness of the injuries. Blyden, 186 F.3d at 263

(citing Hudson, 503 U.S. at 9). “The Eighth Amendment's prohibition of cruel and unusual

punishments necessarily excludes from constitutional recognition de minimis uses of

physical force, provided that the use of force is not of a sort repugnant to the conscience

of mankind.” Hudson, 503 U.S. at 9-10 (internal quotation marks and citations omitted).

“Not every push or shove, even if it may later seem unnecessary in the peace of a judge's

chambers, violates a prisoner's constitutional rights.” Sims v. Artuz, 230 F.3d 14, 22 (2d

Cir. 2000) (citation omitted).

       The subjective element requires a plaintiff to demonstrate the “necessary level of

culpability, shown by actions characterized by wantonness.” Sims, 230 F.3d at 21 (internal

quotation marks and citation omitted). The wantonness inquiry “turns on ‘whether force

was applied in a good-faith effort to maintain or restore discipline, or maliciously and

sadistically to cause harm.’” Id. (quoting Hudson, 503 U.S. at 7). In determining whether

a defendant acted in a malicious or wanton manner, the Second Circuit has identified five


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     factors to consider: “[1] the extent of the injury and the mental state of the defendant[;]

     [2] . . . the need for the application of force; [3] the correlation between that need and the

     amount of force used; [4] the threat reasonably perceived by the defendants; and [5] any

     efforts made by the defendants to temper the severity of a forceful response.” Scott v.

     Coughlin, 344 F.3d 282, 291 (2d Cir. 2003) (internal quotation marks and citations omitted).

              The undersigned concludes that plaintiff has failed to establish both the objective

     and subjective elements of his prima facie excessive force claim. Both C.O. Bence and

     C.O. Coon declared that they responded to a “Watch Commander Response” on July 30,

     2016 under the belief that plaintiff had attempted to assault C.O. Meier. Dkt. No. 58-11

     (“Bence Decl.”) ¶ 5; Dkt. No. 58-12 (“Coon Decl.”) ¶ 5. C.O. Bence declared that when he

     arrived at the incident, he assisted other officers in securing plaintiff’s left arm behind his

     back until mechanical restraints could be applied. Bence Decl. ¶ 7. After both of plaintiff’s

     arms were secured behind his back, a third corrections officer applied mechanical

     restraints to plaintiff’s wrists. Id. ¶ 8. C.O. Coon declared that he assisted in applying the

     mechanical restraints. Coon Decl. ¶ 7. Plaintiff was then escorted to the medical

     department. Bence Decl. ¶ 9. Although plaintiff contends that C.O. Coon and C.O. Bence

     kicked and punched him while he lay handcuffed on the ground, Am. Compl. ¶ 57,

     plaintiff’s medical records are not consistent with such injuries. See Dkt. No. 58-8 at 18-

     20.8 Moreover, plaintiff’s medical records do not show injuries to plaintiff’s arms or wrists

     that belie C.O. Bence and C.O. Coon’s statements that they only secured plaintiff’s arm



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           Although plaintiff’s medical records indicate a laceration over his eye, plaintiff attributed that
injury to C.O. Meier. Pl. Dep. at 103-04.

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behind his back and applied mechanical restraints, respectively. See id.; Bence Decl. ¶

7-8; Coon Decl. ¶ 7. Still, “certain actions, including malicious use of force to cause harm,

constitute Eighth Amendment violations per se.” Blyden, 186 F.3d at 263 (emphasis in

original). Although plaintiff’s medical records do not support the injuries plaintiff purports

to have incurred, “any or even no injuries resulting from the events plaintiff described could

amount to a per se constitutional violation.”       Brown v. Dubois, No. 9:15-CV-1515

(LEK/CFH), 2017 WL 2983305, at *9 (N.D.N.Y. June 16, 2017) (citing Baskerville v.

Mulvaney, 411 F.3d 45, 48-49 (2d Cir. 2005)); Tafari v. McCarthy, 714 F. Supp. 2d 317,

352 (N.D.N.Y. 2010) (internal quotation marks and citation omitted) (denying the

defendants’ motion for summary judgment because although the plaintiff’s injuries were

de minimis, “the extent of injury suffered by the inmate is only one factor that may suggest

whether the use of force could plausibly have been thought necessary in a particular

situation or instead evinced such wantonness with respect to the unjustified infliction of

harm as is tantamount to a knowing willingness that it occur.”)

       The undersigned finds that there is no indication in the record that C.O. Bence or

C.O. Coon acted with malicious or sadistic intent. Both defendants declared that they

arrived at the incident with the understanding that plaintiff had assaulted a staff member.

Bence Decl. ¶ 5; Coon Decl. ¶ 5; Dkt. No. 58-8 at 2. C.O. Bence declared that the

“minimal force [he] used to secure [p]laintiff’s left arm behind his back was necessary and

appropriate under the circumstances, given his attempted assault on staff and resistance

to staff attempts to regain control of the situation.” Bence Decl. ¶ 12. Thus, “the force

exerted upon plaintiff was applied in a good-faith effort by [the defendants[ to maintain or


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restore discipline following [plaintiff’s alleged] . . . behavior.” Chambliss v. Rosini, 808 F.

Supp. 2d 658, 669 (S.D.N.Y. 2011). Moreover, as defendants point out, plaintiff testified

that he “assume[d]” C.O. Bence and C.O. Coons were kicking and punching him, but that

there was a possibility that they did not take part in the alleged excessive force. See Pl.

Dep. at 109-110. Although plaintiff seems to walk back on this testimony in his opposition

papers, see Pl. Opp. at 15-17, plaintiff has failed to proffer evidence, aside from his

conclusory allegations, that contradicts defendants’ account of events.

       Thus, because plaintiff has not submitted “proof that tends to show that the alleged

force used against him was employed maliciously and sadistically to cause harm, he has

failed to satisfy the subjective prong of his excessive force claim.” Chambliss, 808 F.

Supp. 2d at 669 (citing Engles v. Dunbar, No. 09 Civ. 2457(NRB), 2010 WL 5538517, at

*7 (S.D.N.Y. Dec. 30, 2010) (concluding that the subjective component of excessive force

test not satisfied where uncontroverted evidence established that force was used not

maliciously or sadistically, but instead to transport the plaintiff in order to receive medical

attention); Houston v. Horn, No. 09 Civ. 801(DLC), 2010 WL 1948612, at *12 (S.D.N.Y.

May 13, 2010) (concluding that the plaintiff failed to satisfy subjective element of excessive

force claim where he failed to submit proof that contradicted evidence that force was only

used to restore discipline after the plaintiff failed to comply with an officer's order)). As

such, plaintiff has failed to establish the “necessary level of culpability, shown by actions

characterized by wantonness.” Sims, 230 F.3d at 21. Accordingly, it is recommended that

defendants’ motion on this ground be granted.




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                                   D. First Amendment

       Defendants move for summary judgment on plaintiff’s retaliation claims as they

pertain to C.O. Hoffman, Supt. Martuscello, and O.R.C. Iarusso. Plaintiff claims that: (1)

C.O. Hoffman “falsified a misbehavior report which subjected [plaintiff] to confinement for

retaliation . . . because [plaintiff] filed a sexual assault complaint against T. Dahkle and was

rumored by Coxsackie Correctional Officers to be working with the Office of Special

Investigation,” Am. Compl. ¶¶ 19, 20; (2) Supt. Martuscello threatened to invoke plaintiff’s

“deferred SHU time” if he continued to file grievances against Coxsackie staff, id. ¶¶ 39-41;

and (3) O.R.C. Iarusso intentionally destroyed his grievances against Supt. Martuscello,

id. ¶ 49.

       Courts are to “approach [First Amendment] retaliation claims by prisoners ‘with

skepticism and particular care[.]’” See, e.g., Davis v. Goord, 320 F.3d 346, 352 (2d Cir.

2003) (quoting Dawes v. Walker, 239 F.3d 489, 491 (2d Cir. 2001), overruled on other

grounds by Swierkiewicz v. Sorema, N. A., 534 U.S. 506 (2002)). A retaliation claim under

Section 1983 may not be conclusory and must have some basis in specific facts that are

not inherently implausible on their face. See Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009);

South Cherry St., LLC v. Hennessee Grp. LLC, 573 F.3d 98, 110 (2d Cir. 2009). “To prove

a First Amendment retaliation claim under Section 1983, a prisoner must show that ‘(1) that

the speech or conduct at issue was protected, (2) that the defendant took adverse action

against the plaintiff, and (3) that there was a causal connection between the protected

speech and the adverse action.’” Espinal v. Goord, 558 F.3d 119, 126 (2d Cir. 2009)

(quoting Gill v. Pidlypchak, 389 F.3d 379, 380 (2d Cir. 2004), overruled on other grounds


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by Swierkiewicz, 534 U.S. at 560)).

       To satisfy the first element of a retaliation claim, a plaintiff must show that he

engaged in a protected activity. See Espinal, 558 F.3d at 128. The Second Circuit has

concluded that use of the prison grievance system constitutes a protected activity. See

Gill, 389 F.3d at 384; Franco v. Kelly, 854 F.2d 584, 589 (2d Cir. 1988) (“Moreover,

intentional obstruction of a prisoner's right to seek redress of grievances is precisely the

sort of oppression that section 1983 is intended to remedy.”) (alteration and internal

quotation marks omitted); see also Roseboro v. Gillespie, 791 F. Supp. 2d 353, 367

(S.D.N.Y. 2011) (finding that the filing of a grievance is a protected activity); Mateo v.

Fischer, 682 F. Supp. 2d 423, 433 (S.D.N.Y. 2010) (same). As plaintiff alleges that C.O.

Hoffman, Supt. Martuscello, O.R.C. Iarusso retaliated against him because of his PREA

complaint, plaintiff has satisfied the first prong of the test as he has engaged in a protected

activity. See Gill, 389 F.3d at 384; Am. Compl. ¶¶ 19, 20, 39-41, 49.



                                      1. C.O. Hoffman

       Defendants argue that plaintiff’s retaliation claim against C.O. Hoffman concerning

the alleged falsified May 15, 2016 misbehavior report must fail because plaintiff cannot

establish adverse action or causal connection. See Def. Mem. of Law at 15-16. In the

prison context, “adverse action” is objectively defined as conduct “that would deter a

similarly situated individual of ordinary firmness from exercising . . . constitutional rights.”

Davis, 320 F.3d at 353. “[A]dverse action taken for both proper and improper reasons may

be upheld if the action would have been taken based on the proper reasons alone.”


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Jackson v. Onondaga Cnty., 549 F. Supp. 2d 204, 215 (N.D.N.Y. 2008). A defendant’s

retaliatory filing of a falsified misbehavior report that results in disciplinary segregated

confinement constitutes adverse action. See Gill, 389 F.3d at 384 (finding that a false

misbehavior report that resulted in the plaintiff’s placement in keeplock constituted adverse

action); Gayle v. Gonyea, 313 F.3d 677, 682 (2d Cir. 2002) (emphasis added) (“An

allegation that a prison official filed false disciplinary charges in retaliation for the exercise

of a constitutionally protected right, such as the filing of a grievance, states a claim under

§ 1983.”).

       The record indicates that plaintiff spent one day in keeplock as a result of the May

15, 2016 misbehavior report. See Dkt. No. 58-7 at 2-4. Courts in this Circuit are split as

to what length of time in disciplinary segregation constitutes adverse action. See Gill v.

Hoadley, 261 F. Supp. 2d 113, 123-24 (N.D.N.Y. 2003) (finding that keeplock confinement

of four and twenty-one days constitutes adverse action); Gill v. Tuttle, 93 F. App’x 301,

303-04 (2d Cir. 2004) (summary order) (declining to grant summary judgment on the

plaintiff’s retaliation claim where the plaintiff spent nine days in keeplock). In Keesh v.

Goord, the Western District of New York found that the plaintiff’s one day in keeplock

pursuant to an alleged false misbehavior report constituted adverse action where the

record suggested that plaintiff may have been deprived of meals during his confinement.

See Keesh v. Goord, No. 04-CV-0271, 2007 WL 2903682, at *10 (W.D.N.Y. Oct.1, 2007).

Similarly, in Gill v. Tuttle, the Second Circuit found that a “genuine, material question of fact

[existed] as to whether a similarly situated person of ordinary firmness would have filed

such a grievance, particularly in light of the continued denial of permission to attend


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religious callouts.” Gill, 93 F. App’x at 304. Unlike in Keesh and Gill, there is no indication

that plaintiff suffered adverse conditions such as lack of food or denial of religious services

during his one-day confinement. See id.; Keesh, 2007 WL 2903682, at *10. As such, the

undersigned declines to conclude that C.O. Hoffman’s May 15, 2016 misbehavior report

that resulted in one-day confinement in keeplock constituted an adverse action.

       Even assuming plaintiff had established adverse action, the undersigned finds that

such adverse action is not causally connected to plaintiff’s filing of the PREA complaint

against C.O. Dahkle. The plaintiff bears the burden of establishing that “the protected

conduct was a substantial or motivating factor in the prison officials' decision to discipline

the plaintiff.” Gayle, 313 F.3d at 682. A plaintiff “may do so with circumstantial evidence

if it is ‘sufficiently compelling[.]’” Kotler v. Donelli, 382 F. App’x 56, 57-58 (2d Cir. 2010)

(summary order) (quoting Bennett v. Goord, 343 F.3d 133, 137 (2d Cir. 2003)).

              In determining whether a causal connection exists between the
              plaintiff’s protected activity and a prison official’s actions, a
              number of factors may be considered, including: (i) the
              temporal proximity between the protected activity and the
              alleged retaliatory act; (ii) the inmate’s prior good disciplinary
              record; (iii) vindication at a hearing on the matter; and
              (iv) statements by the defendant concerning his motivation.

Baskerville v. Blot, 224 F. Supp. 2d 723, 732 (S.D.N.Y. 2002).

       Although C.O. Hoffman’s misbehavior report occurred one month after plaintiff filed

the PREA complaint against C.O. Dahkle, and, therefore, demonstrates temporal proximity

between the protected activity and the adverse action, see Smith v. Miller, No. 15-CV-9561

(NSR), 2017 WL 4838322, at *8 (S.D.N.Y. Oct. 23, 2017) (concluding that the plaintiff had

established temporal proximity where the plaintiff’s grievance and the alleged false


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misbehavior report were separated by only one month), plaintiff fails to establish that his

PREA complaint against C.O. Dahkle was a substantial or motivating factor in C.O.

Hoffman’s decision to issue him a misbehavior report. See Gayle, 313 F.3d at 682.

Plaintiff seems to suggest that because C.O. Dahkle and C.O. Hoffman worked on the

same unit floor on May 14 and 15, 2016, C.O. Hoffman was aware that plaintiff had filed

a PREA complaint, see Pl. Opp. at 10; however, there is no indication that C.O. Hoffman

knew of plaintiff’s PREA complaint at the time he authored the misbehavior report. C.O.

Hoffman declared that he was not aware of the PREA complaint on May 15, 2016. See

Dkt. No. 58-14 (“Hoffman Decl.”) ¶ 10. Plaintiff does not allege that C.O. Hoffman made

any reference to the PREA complaint when he authored the misbehavior report on May 15,

2016. See Tirado v. Shutt, No. 13-CV-2848, 2015 WL 774982, at *10 (S.D.N.Y. Feb. 23,

2015) (“Absent evidence that any defendant knew about his . . . grievance, [the plaintiff]

has failed to provide any basis to believe that they retaliated against him for a grievance

in which they were not named.”), adopted in relevant part by 2015 WL 4476027 (S.D.N.Y.

July 22, 2015); Am. Compl. ¶¶ 19, 20.

       To the extent that plaintiff references statements that C.O. Hoffman allegedly made

on June 20, 2016 and July 7, 2016, warning plaintiff not to get comfortable in his housing

unit because “[you] mess with one of the C.O.’s [you] got to deal with all of [us],” and

stating that “you won’t fucking quit complaining right, well the misbehavior report don’t exist

anymore” and “Dahkle said hi,” the undersigned notes that the Court already concluded

that these statements lacked the specificity and seriousness to deter inmates from

exercising their First Amendment rights. See Dkt. No. 33 at 18-19. Moreover, plaintiff


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alleges that these statements were made well after C.O. Hoffman issued the misbehavior

report, and, therefore, do not establish that C.O. Hoffman had a retaliatory motive when

he issued the misbehavior report on May 15, 2016.

       Furthermore, the undersigned notes that retaliation is not “reasonably inferred”

where a plaintiff’s complaint does not involve the defendant alleged to have retaliated

against him. Olutosin v. Lee, No. 14-CV-00685 (NSR), 2018 WL 4954107, at *11 (S.D.N.Y.

Oct. 12, 2018) (citing Wright v. Goord, 554 F.3d 255, 274 (2d Cir. 2009)). “Retaliation

claims have been dismissed when they are supported only by conclusory allegations that

the retaliation was based upon complaints against another officer.” Jones v. Fischer, No.

9:10-CV-1331 GLS/ATB, 2013 WL 5441353, at *21 (N.D.N.Y. Sept. 27, 2013) (citing Hare

v. Hayden, 09 Civ. 3135, 2011 WL 1453789, at *4 (S.D.N.Y. Apr.14, 2011) (“As a general

matter, it is difficult to establish one defendant's retaliation for complaints against another

defendant.”)). Plaintiff’s speculation that C.O. Hoffman retaliated against him because of

his PREA complaint against C.O. Dahkle is not supported by the record. Accordingly, it is

recommended that defendants’ motion on this ground be granted.



                                   2. Supt. Martuscello

       Defendants argue that plaintiff’s retaliation claim against Supt. Martuscello must fail

because plaintiff cannot establish adverse action or causal connection. See Def. Mem. of

Law at 17-18. As to plaintiff’s allegation that Supt. Martuscello threatened to invoke

plaintiff’s “deferred SHU time” if he continued to file grievances against Coxsackie staff,

Am. Compl. ¶¶ 39-41, the undersigned concludes that this does not amount to adverse


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action. “Case law reflects that verbal threats may constitute adverse action, though

whether they constitute adverse action seems to depend on their specificity and the context

in which they are uttered.” Lunney v. Brureton, No. 04 CIV. 2438LAKGWG, 2007 WL

1544629, at *23 (S.D.N.Y. May 29, 2007). Plaintiff contends that during an interview with

Supt. Martuscello on June 11, 2016, Supt. Martuscello “started yelling at [him[ about all

[his] complaints to outside agencies” and reminded plaintiff of his deferred SHU time,

“implying that if [plaintiff] continued to make a[n] issue, [Supt. Martuscello would] set [him]

up and put [him] back in [SHU].” Am. Compl. ¶¶ 39-41. Supt. Martuscello declared that

              an inmate who has been penalized with time in SHU may have
              any portion of that time deferred up to 180 days. The Hearing
              Officer who handles the disciplinary hearing makes the
              decision to defer time. If the inmate has no disciplinary
              infractions during the deferral period, the penalty is expunged.
              However, if the inmate has a subsequent disciplinary infraction
              during the deferral period, the deferred time may be invoked
              following a hearing on the subsequent disciplinary infraction.

Dkt. No. 58-17 (“Martuscello Decl.”) ¶ 9. Although Supt. Martuscello declared that he did

not recall meeting with plaintiff on June 11, 2016, he stated that, he recalled that plaintiff

had several disciplinary infractions at Coxsackie, and, to the extent that he discussed

plaintiff’s deferred SHU time, “it would have been to remind him of the rules for deferred

SHU time: that if he received a misbehavior report for a disciplinary infraction while he had

deferred SHU time, the Hearing Officer could decide to invoke that deferred SHU time.”

Id. ¶ 13.

       Although the undersigned previously found that, given the context and specificity of

Supt. Martuscello’s statements – referencing plaintiff’s deferred SHU time and discussing



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plaintiff’s grievances and complaints – similarly-situated person of ordinary firmness could

be deterred from filing grievances, Dkt. No. 33 at 22, the fully developed record now

establishes that, as Superintendent, Supt. Martuscello did not have the authority to

determine whether to invoke an inmate’s deferred SHU time. Martuscello Decl. ¶ 10.

Moreover, the fact that Supt. Martuscello never followed through on his threats “softens the

deterrent considerably.” Mateo v. Fischer, 682 F. Supp. 2d 423, 434 (S.D.N.Y. 2010).

       Furthermore, as defendants note, insofar as Supt. Martuscello did make the alleged

statements, there is no indication in the record that plaintiff’s complaints and/or grievances

were a substantial or motivating factor in doing so, as Supt. Martuscello declared that to

the extent that he spoke about deferred SHU time with plaintiff, it would have been to

remind him of the rules concerning the implementation of deferred SHU time. See

Martuscello Decl. ¶ 15; Def. Mem. of Law at 17-18. As defendants further note, the record

indicates that plaintiff’s grievances against Supt. Martuscello post-date this alleged

incident, and, therefore, cannot be the basis of plaintiff’s retaliation claim. See Williams

v. Smith, No. 9:11-CV-0601 (LEK/TWD), 2015 WL 1179339, at *10 (N.D.N.Y. Mar. 13,

2015) (“Adverse actions that predate protected conduct cannot form the basis of a

retaliation claim.”); Am. Compl. ¶¶ 39, 42 (noting that the meeting between plaintiff and

Supt. Martuscello occurred on June 11, 2016 and plaintiff filed a grievance against Supt.

Martuscello on June 15, 2016). As such, plaintiff fails to demonstrate a causal connection

between his protected conduct and Supt. Martuscello’s alleged adverse action.

       As plaintiff fails to set forth a prima facie retaliation claim against Supt. Martuscello,

it is recommended that defendants’ motion on this ground be granted.


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                                    3. O.R.C. Iarusso

       Defendants argue that plaintiff’s retaliation claim against O.R.C. Iarusso must fail

because plaintiff cannot establish adverse action or causal connection. See Def. Mem. of

Law at 18-19. O.R.C. Iarusso declared that on July 12, 2016, plaintiff attended a grievance

hearing concerning a complaint about mail in SHU. See Dkt. No. 58-15 (“Iarusso Decl.”)

¶ 12. Plaintiff attempted to discuss other grievances with O.R.C. Iarusso, who informed

him that he would look into those grievances at a later date as the purpose of the hearing

was to discuss the grievance regarding SHU mail. Id. ¶ 13. Plaintiff continued to discuss

other grievances, and O.R.C. Iarusso informed him that he, “personally, would not file a

grievance against the Superintendent” — meaning it was not his responsibility, as IGP Staff

Representative, to file inmate grievances. Id. ¶¶ 11, 14.

       To the extent that plaintiff interpreted O.R.C. Iarusso’s statement as a threat,

“[t]hreats made to an inmate, without more, do not rise to the level of a constitutional

violation.”   Pledger v. Hudson, No. 99 CIV.2167LTS/THK, 2005 WL 736228, at *5

(S.D.N.Y. Mar. 31, 2005) (citing Dawes, 239 F.3d at 489). Even if plaintiff interpreted

O.R.C. Iarusso’s comment as a threatening to not file his grievance against Supt.

Martuscello, the record indicates that plaintiff’s grievance against Supt. Martuscello was

filed and combined with grievance CX-19054-16. See Iarusso Decl. ¶ 20; Dkt. No. 58-5

at 35-45. As defendants note, plaintiff testified that he knew that his grievance against

Supt. Martuscello had been filed and consolidated with his grievance concerning loss of

programs. Pl. Dep. at 163-64. As such, plaintiff fails to demonstrate that O.R.C. Iarusso

took adverse action against him. Moreover, there is no indication in the record that


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plaintiff’s complaints and/or grievances were a substantial or motivating factor in O.R.C.

Iarusso’s alleged threat. Accordingly, it is recommended that defendants’ motion on this

ground be granted.



                                E. Supervisory Liability

       “[P]ersonal involvement of defendants in alleged constitutional deprivations is a

prerequisite to an award of damages under § 1983.” Wright v. Smith, 21 F.3d 496, 501 (2d

Cir. 1994) (quoting Moffitt v. Town of Brookfield, 950 F.2d 880, 885 (2d Cir. 1991)). Thus,

supervisory officials may not be held liable merely because they held a position of

authority. Id.; Black v. Coughlin, 76 F.3d 72, 74 (2d Cir. 1996). However, supervisory

personnel may be considered “personally involved” if:

             (1) [T]he defendant participated directly in the alleged
             constitutional violation[;]

             (2) the defendant, after being informed of the violation through
             a report or appeal, failed to remedy the wrong[;]

             3) the defendant created a policy or custom under which
             unconstitutional practices occurred, or allowed the continuance
             of such a policy or custom[;]

             (4) the defendant was grossly negligent in supervising
             subordinates who committed the wrongful acts[;] or

             (5) the defendant exhibited deliberate indifference to the rights
             of inmates by failing to act on information indicating that
             unconstitutional acts were occurring.

Colon v. Coughlin, 58 F.3d 865, 873 (2d Cir. 1995) (spacing added) (citing Williams v.

Smith, 781 F.2d 319, 323-24 (2d Cir. 1986)). However, where a plaintiff's sole claim of



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involvement of the supervisory defendant is that a superintendent affirmed a denial of a

grievance, such is not sufficient to establish personal involvement. Joyner v. Greiner, 195

F. Supp. 2d 500, 506 (S.D.N.Y. 2002).          Moreover, a supervisor may delegate the

responsibility to others, and personal involvement does not lie where the only allegation

was that the defendant referred a complaint to the appropriate department or staff for

investigation. See Ortiz-Rodriguez v. N.Y. State Dep't of Corr. Servs., 491 F. Supp. 2d

342, 347 (W.D.N.Y. 2007). Finally, assertions of personal involvement that are merely

speculative are insufficient to establish a triable issue of fact. See, e.g., Brown v. Artus,

647 F. Supp. 2d 190, 200 (N.D.N.Y. 2009).

       Absent an underlying constitutional violation by a subordinate, there can be no

supervisory liability. Hernandez v. Keane, 341 F.3d 137, 145 (2d Cir. 2003); see Elek v.

Inc. Vill. of Monroe, 815 F. Supp. 2d 801, 808 (S.D.N.Y. 2011) (collecting cases for the

proposition that “because [p]laintiff has not established any underlying constitutional

violation, she cannot state a claim for 1983 supervisory liability”).

       Plaintiff alleges that Supt. Martuscello and DSS Shanley failed to protect him from

C.O. Meier’s alleged retaliation and excessive force. See Am. Compl. ¶ 32. Defendants

argue that plaintiff “cannot demonstrate that [DSS] Shanley and [Supt.] Martuscello failed

to act on his verbal complaints about [C.O.] Meier because, as an initial matter, an inmate’s

verbal complaints of threats by a Correction Officer are delegated to a Sergeant for

investigation.” Def. Mem. of Law at 24. Defendants further argue that Supt. Martuscello




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    and DSS Shanley took steps to address plaintiff’s concerns. See id. 9

             DSS Shanley declared that

                     [w]hen an inmate makes a verbal complaint about alleged
                     threats from a CO, a Sergeant is assigned to assess the
                     credibility of the complaint and determine whether a formal
                     investigation is required. As part of a formal investigation, the
                     Sergeant will interview the inmate and direct the accused CO
                     to provide written response to the allegations. Neither the
                     Superintendent nor DSS are involved in the investigation.
                     When an inmate files a grievance about alleged threats from
                     a CO, the process is similar to the process for verbal
                     complaints; the grievance is delegated to a Sergeant to
                     investigate the grievance, and that Sergeant will interview the
                     inmate and direct the accused CO to provide a written
                     response to the allegations. Neither the Superintendent nor
                     DSS are involved in the grievance investigation. If an inmate
                     makes a verbal complaint and files a grievance about alleged
                     threats from a Correction Officer, the grievance investigation
                     serves as the formal investigation on the verbal complaint in
                     order to avoid duplicating efforts.

    Dkt. No. 58-16 (“Shanley Decl.”) ¶¶ 13-15. If an inmate’s complaint regarding a staff

    member is found to be credible, the investigation is referred to OSI. Id. ¶ 16. Both Supt.

    Martuscello and DSS Shanley declared that, as Superintendent and Deputy

    Superintendent of Security, respectively, they had no involvement in the investigation of

    plaintiff’s complaints. See Martuscello Decl. ¶ 6; Shanley Decl. ¶ 13. Both defendants

    reference an exhibit attached to plaintiff’s amended complaint that they argue

    demonstrates that plaintiff’s complaints regarding C.O. Meier were being handled by other

    staff. See Martuscello Decl. ¶ 8; Shanley Decl. ¶ 18; Dkt. No. 12-2 at 13. However, as

    plaintiff notes, the May 19, 2016 letter from plaintiff’s social work counselor pre-dates the


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         The undersigned addresses supervisory liability under the fifth Colon factor only as previously
determined in the October 30, 2017 Report-Recommendation and Order. See Dkt. No. 33 at 35-37.

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    May 23, 2016 meeting wherein plaintiff contends that he informed Supt. Martuscello and

    DSS Shanley of his complaints regarding C.O. Meier. Pl. Opp. at 18; Dkt. No. 12-2 at 13.

    Moreover, although the May 19, 2016 letter does state that “Mr. Martuscello is looking into

    [it] as he informed me - ‘it is being handled,’” there is no indication that Supt. Martuscello

    was “looking into” plaintiff’s complaints against C.O. Meier. See Dkt. No. 12-2 at 13.

            The undersigned also notes that although defendants argue that the lack of

    documentation of plaintiff’s verbal complaint and/or a subsequent investigation into that

    verbal complaint means that the assigned Sergeant found that plaintiff’s complaint was not

    credible, Def. Mem. of Law at 24, plaintiff contends that he was never interviewed by a

    sergeant or other Coxsackie staff member. Pl. Opp. at 18. While C.O. Meier’s alleged

    threats and verbal harassment do not amount to constitutional violations for which Supt.

    Martuscello and DSS Shanley can be held liable, they can serve as “circumstantial

    evidence of [his] retaliatory intent” in the alleged use of excessive force against plaintiff..

    See Baskerville, 224 F. Supp. 2d at 733 n.6 (finding that, although the defendant's

    comments “did not violate plaintiff's constitutional rights” as First Amendment harassment,

    the plaintiff's allegations “support[ed] his retaliation claim" as "circumstantial evidence of

    retaliatory intent.”).10 Drawing all reasonable inferences in plaintiff’s favor, a rational jury

    could find that Supt. Martuscello was personally involved in the alleged constitutional

    violations because he was in a position to refer plaintiff’s complaints regarding C.O. Meier

    to a sergeant for investigation, and there is no indication in the record that such referral


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          Notably, defendants do not move for summary judgment on plaintiff’s Eighth Amendment
excessive force and First Amendment retaliation claims against C.O. Meier. See Def. Mem. of Law at 4
n.1.

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occurred. As such, it is recommended that defendants’ motion, as it pertains to Supt.

Martuscello’s referring plaintiff’s complaints against C.O. Meier for investigation, be denied.

        As to DSS Shanley, the undersigned notes that Ms. Seguin declared that plaintiff

failed to grieve his claim that DSS Shanley failed to protect him from C.O. Meier’s alleged

excessive force. Seguin Decl. ¶ 25. Although IGP regulations do not require that an

inmate’s grievance contain the name of the offending officer, Espinal, 558 F.3d at 126,

prison officials must be afforded the time and opportunity to address a complaint internally,

and “[i]n order to exhaust . . . inmates must provide enough information about the conduct

of which they complain to allow prison officials to take appropriate responsive measures.”

Johnson v. Testman, 380 F.3d 691, 697 (2d Cir. 2004). In grievance CX-19094-16, plaintiff

specifically refers to Supt. Martuscello’s “failure to take reasonable action to protect [him],”

Dkt. No. 58-5 at 50; however, there is nothing in plaintiff’s grievance that would alert prison

officials to investigate a subsequent failure to intervene claim against DSS Shanley; thus,

such claim was not properly grieved. See Luckerson v. Goord, No. 00 Civ. 9508(JSR),

2002 WL 1628550, at *2 (S.D.N.Y. July 22, 2002) (determining the plaintiff’s claim to be

unexhausted and stating, “[f]or [the defendants] now to have to litigate a federal lawsuit

premised on allegations that . . . they had no reason to address [in the IGRC] would make

a mockery of the exhaustion requirement.”). Indeed, “the mere fact that plaintiff filed some

grievance, and fully appealed all the decisions on that grievance, does not automatically

mean that he can now sue anyone who was in any way connected with the events giving

rise to that grievance.” Turner v. Goord, 376 F. Supp. 2d 321, 324 (W.D.N.Y. 2005). As

such, it is recommended that defendants’ motion, as it pertains to DSS Shanley, be


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granted.

       To the extent that plaintiff argues that Supt. Martuscello or DSS Shanley should

have transferred him to a different facility or re-assign C.O. Meier to a different housing

block, neither the Superintendent nor the Deputy Superintendent of Security have the

authority to transfer inmates between facilities or assign corrections officers to housing

blocks; these tasks are handled by the Office of Classification and Movement and the

Chart Sergeants, respectively. Shanley Decl. ¶ 22.

       Accordingly, it is recommended that defendants’ motion be granted as to plaintiff’s

supervisory claims against DSS Shanley. It is further recommended that defendants’

motion be denied on to plaintiff’s supervisory claims against Supt. Martuscello.



                                     F. Qualified Immunity

       Defendants argue that, even if plaintiff’s First and Eighth Amendment claims are

substantiated, they are entitled to qualified immunity.           Def. Mem. of Law at 25-27.

Qualified immunity shields public officials from being sued for conduct undertaken in the

course of their duties so long as that conduct “does not violate clearly established statutory

or constitutional rights of which a reasonable person would have known.” Harlow v.

Fitzgerald, 457 U.S. 800, 818 (1982) (internal quotation marks and citation omitted); Eng

v. Coughlin, 858 F.2d 889, 895 (2d Cir. 1988). However, even if the constitutional

privileges “are so clearly defined that a reasonable public official would know that his

actions might violate those rights, qualified . . . immunity might still be available . . . if it was

objectively reasonable for the public official to believe that his acts did not violate those


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rights.” Kaminsky v. Rosenblum, 929 F.2d 922, 925 (2d Cir. 1991); Magnotti v. Kuntz, 918

F.2d 364, 367 (2d Cir. 1990) (internal citations omitted). A court must first determine

whether, if the plaintiff’s allegations are accepted as true, there would be a constitutional

violation. See Saucier v. Katz, 533 U.S. 194, 201 (2001). Only if there is a constitutional

violation does a court proceed to determine whether the constitutional rights were clearly

established at the time of the alleged violation. Aiken v. Nixon, 236 F. Supp. 2d 211, 230

(N.D.N.Y. 2002).

       Here, plaintiff has not established a constitutional violation to satisfy the first prong

of the qualified immunity test as to a majority of his claims. See subsection II.C.-D. supra,

at 24-41. Because there is no constitutional violation, the undersigned does not reach

whether plaintiff’s constitutional rights were clearly established at the time of the alleged

violation. See Aiken, 236 F. Supp. 2d at 230. As to plaintiff’s supervisory claims against

Supt. Martuscello, the undersigned rejects defendants’ argument that Supt. Martuscello

was “acting in accordance with established constitutional rights when . . . [he] referred

[p]laintiff’s verbal complaints to a Sergeant for handling” as there is no indication that such

referral occurred. See subsection II.E. supra, at 41-46. Accordingly, it is recommended

that defendants’ motion on this ground be denied in part as to plaintiff’s supervisory claim

against Supt. Martuscello, and granted in part as to plaintiff’s remaining claims.



                                      III. Conclusion

       WHEREFORE, for the reasons stated herein, it is hereby:

       RECOMMENDED, that defendants’ Motion for Partial Summary Judgment (Dkt. No.


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58) be GRANTED, and the following claims be DISMISSED with prejudice:

              (1) Insofar far as it seeks dismissal for plaintiff’s failure to exhaust his First

              Amendment retaliation claims, Eighth Amendment excessive force claims,

              and supervisory liability claims,

              (2) Insofar as it seeks dismissal of plaintiff’s Eighth Amendment sexual

              assault claim against C.O. Dahkle,

In the alternative, should the District Judge reach the merits of plaintiff’s First Amendment,

Eighth Amendment, and supervisory claims, it is recommended that defendants’ Motion

for Partial Summary Judgment be GRANTED as to plaintiff’s (1) First Amendment

retaliation claims against C.O. Hoffman, Supt. Martuscello, and O.R.C. Iarusso; (2) Eighth

Amendment excessive force claims against C.O. Bence and C.O. Coon; (3) Eighth

Amendment sexual assault claim against C.O. Dahkle; and (4) supervisory liability claim

against DSS Shanley, and DENIED as to plaintiff’s supervisory liability claim against Supt.

Martuscello; and it is

       ORDERED, that the Clerk of the Court serve a copy of this Report-Recommendation

and Order on the parties in accordance with Local Rules.

IT IS SO ORDERED.

       Pursuant to 28 U.S.C. § 636(b)(1), the parties may lodge written objections to the

foregoing report. Such objections shall be filed with the Clerk of the Court. FAILURE TO

OBJECT TO THIS REPORT WITHIN FOURTEEN (14) DAYS WILL PRECLUDE

APPELLATE REVIEW. Roldan v. Racette, 984 F.2d 85, 89 (2d Cir. 1993); Small v. Sec’y

of HHS, 892 F.2d 15 (2d Cir. 1989); see also 28 U.S.C. § 636(b)(1); FED. R. CIV. P. 72, 6(a),

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     6(e).11

               Dated: December 11, 2018
               Albany, New York




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            If you are proceeding pro se and are served with this Order by mail, three additional days will be
added to the fourteen-day period, meaning that you have seventeen days from the date the Order was
mailed to you to serve and file objections. FED. R. CIV. P. 6(d). If the last day of that prescribed period
falls on a Saturday, Sunday, or legal holiday, then the deadline is extended until the end of the next day
that is not a Saturday, Sunday, or legal holiday. Id. § 6(a)(1)(C).

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